Page 1 of 4

Ps

MEDIA INTERNATIONAL

Vieki Fsralew September 23, 1996
Kids Count 0 : bt
3100 Dundee Re

Suite 205

Northbrook, 160062 <0

Bear Vicki;

The fallowing, when signed by you in the space provided belew and retried toi, Wo.
conétitute an agreeient under which we witi provide exefusive advertising, and marketing so
| Services to Kids Count. This is der standard dgreement with cliente, please makes. 00 eo eee
"alterations oe-euggestion so'thit we Gai get rolling in a vay that works for yl: ord.

Ero Faget

woe advertising ane marketing agency For Kids Court.“

|, You have engaged Siaymar::Media Enternitionsl te ie the exclusive direct. response... 3. .gcn oy be

Aegotiated and placed,

A. Media ~ Atl media will be billed in advance of the month in which it runs based on eo
contracts (purchase orders) entered Into with Stations. A reconciliation invaice will. oe,
- be issued subsequently for each month based on final station mvaices/affidavits,
Detaihed media reparts displaying all resufts and analysis will be faxed ond / or é-
mailed ona weekly basis (with daily reports made available ad neaded), ,

All media te payable at least 27 days price to the flest oir date for the entire:test
flight for applicable media praviders, Ali media thet follows thé test whether tt be
@ Secondary test or talfout is dye for each Teeth, twa weeks prior to the fisdt dir
date of that month's media schedule, All Ptations will be paid in advance of their
air dates (industry standard}. . Be

MOL Aver Or Twe Srass, Soire 1710 © Cow ARETE. Calitoania Ftge7 PROWE 310.906 Saas Fax 210.7d0.5aap

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IV.

We agree to surbinit all advertising ond related moterialy ta yau prige ta release to ry’

_ Ras Count end sored the prev cmpesation

$3,300 per motth (for the initial te months, payable in advance, first palment
Upon signing. each subsequent payment due the first of euch mouth) creatine
consultation, commercial ond offer development, telemarketing ond fulfifiment xef-
up and maintenance and all other aspects over and abave commissions due for media
planning ond buying ond post buy reporting. Each month thereafter will be .
condidered on'¢ aronth by month basis since much of the work will have alrzady
been defermined ond set-up. Generally the fée drops to $1,000 far the origoing
consulfation and matatencrts if nasded os determined by Kids Court.

Creative charges are. tobe determined, The fe. genesally $5,000 -. $7,400 foc.
general scriet conultation and “cali to action” scripting, This fee is waived.far

. . _ All out-of-pocket expenses incurred m servicing your account including. but act. a

limited to, shipping charges, metgenger servicefoic freight and authorized Srovel .. .

~. by, agency personnel outside our immediate area will be billed at our. net cost with .

documentation, °~

You agree to provide Blagmnan Media Internatianal with such financial statements. eid

and other evidence of creditworthiness az Blagman Media International-ney, from...

time to Titne, request, Blogman Media International reserves the right toréquing 0
payment in advance and’ or other fortn of credit protection acceptable te Blagman. ce,
Media Eaternational in the event it determines that your financial conditionior® - oe
liquidity creates on uncertainty. a: tg your ability to eamply with payment tering of 6»

| the Agreement. All direct response advertising is payuble in advance.

Inedia. You agree and warrant thet your approval ef such material verifies th atthe
content therein is truth asd fegal oad That your product will perform as indicated
within said material. Tf ony lawsuit or other proceeding, whether instituted by any:
governmental bady or any other persan or organization is brought or threatened ogainst
Blagman Media [etemnctional, er any of its affiliates, executives, ar employees. you iil

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or woe

indemnify and held harmless Blagman Medio International, or its affiliates, executives, or
employees, as apprepriate, for any and all damages resulting therefrom, including, but not
limited to, actual damages, punitive damages and fines and the legal fees and other costs
incurred in defending the said lawsuit or other proceeding. Blagman Media International
hereby indemnities Kids Count in the event that Kids Count incurs damages due to the
invasion of privacy or liable/slander committed by Blagman Media International.

V. Legal

Blagman Media International reserves the right, in the event any amounts claimed by ©
Blagman Media Internationa! hereunder remain unpaid, te institute arbitration rocuedings
at the written election of Blagman Media International, which proceedings shall be
conducted in Los Angeles, California under the then current rules of the American. -
Arbitration Association, and. any award rendered therein in favor of Biagman Media
Tnternational may be enferced in any court of competent jurisdiction, Nothing contairied °°”
in this paragraph shall limit or deprive Blagman Media International. of its rights to resort °
to Judicial enforcement of any of your obligations incurred hereunder. -

. This dgreement shall be interpreted i in ‘accordance with the laws‘of the State of. Califarriia”
or the State of Filinais.. In. the event legal action becanies necessary ta enforce’ any

“« . portion ef this agreement, the nonbreaching party will be entitled to'reasanable °

attorney’ 8 fees in addition to any relief awarded.
VI. Publicity

‘Any and all news releases or othier pablic disclosures of Blagman Media International's
‘relationship with Kids Count: must first. Have authorization from éither party. : .

VIT. Term

Your appointment of Blagman Media International ag your exclusive broadcast advertising,
"agency for those products that are assigned to us shall commence upon the date hereof -
and shail continue until this agreement is terminated. This agreement may be terminated
by either party at any time upon 60 days written notice, except that the warranties and
indemnities provided.herein shall survive the cancellation of this agreement.

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Page 4 of 4
7 The above tts with your approval, we. would opareciaté your signing the ackeptonce
returring it ta us at your exrHext convenience. 7 Yo hawe ony Changes er
“modifications, pleate call us 30 that we may discuss thein,
We book forward te a tong ond mutually profitable relationship.
- accesten THs 2 Y pay oF Seo") Ag ae.
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By Print name - Vicid Esrotew}

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